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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION


  PUES FAMILY TRUST IRA,                       CASE NO.: 19-MC-80024 DMM
  MICHAEL PUES EXECUTOR,
  vs.

  PARNAS HOLDINGS, INC. AND
  LEV PARNAS,

        Debtors.
  _________________________________________/

             NON-PARTY, GLOBAL ENERGY PRODUCERS, LLC,
    OBJECTIONS, MOTION TO QUASH AND MOTION FOR PROTECTIVE ORDER

        Non-Party, GLOBAL ENERGY PRODUCERS, LLC, objects to the production, review,

       inspection or copying of the items sought by the creditor, PUES FAMILY TRUST IRA,

       from non-party Global Energy Producers, LLC (“GEP”), and move pursuant to Federal

       Rules of Civil Procedure 45(d)(2)(B), 45(d)(3)(A)(iii) and 45(d)(3)(B)(i), for a Protective

       Order on and to Quash the Subpoena to Produce Documents issued pursuant to that certain

       Judgment Creditor’s Notice of Subpoena dated March 4, 2019, directed to Global Energy

       Producers, LLC (hereafter the “GEP Subpoena”), and, in support states:

                                    BRIEF INTRODUCTION

        This lawsuit involves the attempts to collect on a judgment entered in Federal Court in

       New York against LEV PARNAS and PARNAS HOLDINGS, INC. for breach of contract.

        The subpoenaed entity, Global Energy Producers, LLC, is not a party to the New York

       action, not a party in the instant case and not a judgment debtor.

        The judgment creditor, PUES FAMILY TRUST IRA, seeks a substantial amount of

       documentation and items from GEP which are not related to its attempt to collect on its
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       judgment. The items also cross the line into GEP’s business practices and seek proprietary

       and confidential information which PUES is not entitled to obtain. The scope of the

       subpoena it too broad and seeks items which far exceed the allowable scope of production

       from a non-party. GEP requests that the Court grant uphold its Objections, grant its Motion

       to Quash the Subpoena and/or enter a Protective Order on the items requested and sought in

       the Subpoena.

                       DOCUMENTS SOUGHT IN THE GEP SUBPOENA

        The Subpoena to Produce Documents, Information and Objects directed to GEP seeks:

     1. All records pertaining to compensation of LEV PARNAS by GEP. This category of

     documents and items is not objected to.

     2. All documents signed by LEV PARNAS on behalf of GEP from April 1, 2018 – the

     present, including bank deposit agreements, political action committee finance documents,

     checks, leases and operating agreements. This category of documents is objected to on the

     basis that it seeks items that (i) have no relevance to locating any assets of PARNAS which

     might be used to satisfy the judgment and (ii) that contain confidential business and

     commercial information and records of GEP.

        a.      The bank deposit agreements sought will detail the operation and banking activity

     of GEP and not of LEV PARNAS individually. The only relevant deposit agreements would

     be ones which show LEV PARNAS as an account holder; otherwise they should not be

     disclosed or produced to PUES.

        b.      Political action committee finance documents are also irrelevant to the attempt to

     collect on the PUES judgment. The judgment is not against GEP and to require GEP to

     disclose these items and records infringes on its right to freely be involved in the political


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     arena and to make political contributions to candidates, parties or causes without having to

     disclose to unrelated third parties to whom or for what causes GEP is contributing to; or what

     the reasons, amounts, basis and goals are for such political actions or contributions. These

     documents and items should be kept confidential so as not to have a chilling effect on GEP’s

     right to participate in the political process. There has been no showing made that any

     political action committee finance documents show or would tend to show the payment of

     funds to LEV PARNAS individually or to PARNAS HOLDINGS, INC. by GEP through

     some political action committee or the payment by LEV PARNAS or PARNAS HOLDINGS

     to any political action committee. These items contain confidential commercial information

     about GEP which have nothing to do with any assets of LEV PARNAS or PARNAS

     HOLDINGS.

        c.      Any checks, leases or operating agreements of GEP which were signed by LEV

     PARNAS similarly should not be required to be produced. These items are also confidential

     commercial records and contain confidential or proprietary business information.               Any

     checks payable to LEV PARNAS from GEP are already sought as a part of Request No. 1,

     but all other GEP checks should be protected from disclosure to PUES. Leases and operating

     agreements for GEP are similarly proprietary to GEP and are confidential commercial

     records - unless the leases and operating agreements bestow some financial rights,

     compensation, assets or monetary benefits on LEV PARNAS they should protected from

     discovery as a part of PUES’ attempts to collect on its judgment against LEV PARNAS and

     PARNAS HOLDINGS.

     3. List of all officers, managers and employees affiliated with GEP. This category is not

     objected to.


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     4. Any correspondence made by LEV PARNAS on behalf of GEP from April 1, 2018 until

     the present. This category is objected to as it seeks all correspondence from PARNAS which

     he “made” on behalf of GEP. This would include any and all confidential or proprietary

     letters and documents that involve the operation, financial status, business plans and

     strategies of GEP. This request is not limited to only correspondence which would reflect

     payments to PARNAS, debts or amounts due to PARNAS, the transfer of assets to PARNAS

     from GEP or other, relevant items which would be reasonable related to discovering assets of

     PARNAS which might be subject to levy or execution to pay the PUES’ judgment.

                                             ARGUMENT

     7. An Objection to the Subpoena for Production of Documents may be filed in this matter

     by the person or entity from which the discovery is sought pursuant to Fed. R. Civ. P.

     45(d)(2)(B).

     8. The Court must quash or modify a (non-party) subpoena if it requires the disclosure of

     privileged or other protected matters pursuant to Fed. R. Civ. P. 45(d)(3)(A)(iii).

     9. The Court may quash or modify a (non-party) subpoena if it requires the disclosure of

     confidential research or confidential commercial information pursuant to Fed. R. Civ. P.

     45(d)(3)(B)(i).

     10. When confidential information is sought from a non-party, the Court must determine

     whether the requesting party establishes a need for the information that outweighs the

     privacy rights of the non-party.

     11. In the instant case the GEP Subpoena seeks irrelevant, sensitive, private and confidential

     business and commercial information about Global Energy Producers, LLC as it relates to its




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      protected confidential business operations, political activities and contributions and there has

      been no showing of a need by PUES which outweighs GEP’s privacy rights.

      12. Accordingly, Global Energy Producers, LLC contends that it has shown the requisite

      good cause and legal basis for entry of an Order upholding these Objections, Quashing the

      Subpoena to GEP and/or granting the Motion for a Protective Order.

                WHEREFORE, Non-Party, GLOBAL ENERGY PRODUCERS, LLC, respectfully

      requests that this Court grant this Motion, uphold its Objections, Quash the Subpoena and/or

      enter a Protective Order providing that GEP shall not be required to produce any documents,

      records or other items or information which are objected to and/or claimed to contain

      confidential information, proprietary information and/or confidential commercial information

      as set forth above and, shall only produce those items which show or reflect assets of LEV

      PARNAS or PARNAS HOLDINGS or payments by GEP to LEV PARNAS or PARNAS

      HOLDINGS.

                                                    /s/ Chris Alan Draper
                                                    Chris A. Draper, Esq.
                                                    Florida Bar No. 0838640
                                                    GREENSPOON MARDER LLP
                                                    Counsel for Non-Party, Global Energy
                                                    Producers, LLC and Defendants, LEV PARNAS
                                                    and PARNAS HOLDINGS, INC.
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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the

      Court and furnished a copy via email to: Tony Andre, Esquire, The Andre Law Firm, P.A.,


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     18851 NE 29th Avenue, Suite 724, Aventura, FL                       33180; Ph. 786-708-0813;

     andre@andrelaw.com, on this 19th day of March, 2019. I also certify that I am admitted to

     the United States District Court for the Southern District of Florida.

                                                   /s/ Chris Alan Draper
                                                   Chris A. Draper, Esquire
                                                   Florida Bar No. 0838640




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